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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF INDIANA
INDIANAPOLIS DIVISION

UNITED STATES OF AMERICA, )
)
Plaintiff, )
)
V. )

) Cause No. 1:20-cr-0096-TWP-DLP-08

ERIC POORE, ) 1:20-cr-0097-JRS-DLP-08

a/k/a Hollywood, )
)
Defendant. )

PETITION TO ENTER PLEA OF GUILTY AND PLEA AGREEMENT

The United States of America, by counsel, Josh J. Minkler, United States Attorney for the
Southern District of Indiana, and, Bradley A. Blackington, Assistant United States Attorney (“the
Government”), and the defendant, Eric Poore, a/k/a Hollywood (“the defendant”), in person and
by counsel, Mario Garcia, hereby inform the Court that a Plea Agreement has been reached in
this case pursuant to Federal Rule of Criminal Procedure 11(c)(1)(B). The following are its
terms and conditions:

Part 1: Guilty Plea and Charge(s)

1. Plea of Guilty: The defendant petitions the Court for leave to enter and agrees to
enter a plea of guilty to the following offenses:

a Count One of the Indictment docketed at 1:20-cr-0096-TWP-DLP-08,
which charges that the defendant committed the offense of conspiracy to distribute 500 grams or

more of a mixture or substance containing a detectable amount of methamphetamine, a Schedule

 
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II Non-Narcotic Controlled Substance, in violation of Title 21, United States Code, Section
841(a)(1).

b. Count One of the Indictment docketed at 1:20-cr-0097-JRS-DLP-08,
which charges that the defendant committed the offense of conspiracy to distribute 500 grams or
more of a mixture or substance containing a detectable amount of methamphetamine, a Schedule
II Non-Natcotic Controlled Substance, in violation of Title 21, United States Code, Section
841 (a)(1).

2. Potential Maximum Penalties: The offenses charged in Count One of the
Indictment docketed at 1:20-cr-0096-TWP-DLP-08 and Count One of the Indictment docketed at
1:20-cr-0097-JRS-DLP-08 are punishable by a term of not less than ten years’ imprisonment and
not more than life imprisonment, a fine of not more than $10,000,000, and a term of supervised
release of not less than five years following any term of imprisonment.

3. Elements of the Offense: To sustain the offense to which the defendant is
pleading guilty in Count One of the Indictment docketed at 1:20-cr-0096-TWP-DLP-08 and
Count One of the Indictment docketed at {:20-c1-0097-IRS-DLP-08, the Government must prove
the following elements beyond a reasonable doubt: (1) a conspiracy to distribute controlled
substances existed; (2) the defendant knowingly and intentionally became a member of the
conspiracy; and (3) the conspiracy involved the distribution of 500 grams or more of a mixture or
substance containing a detectable amount of methamphetamine.

Part 2: General Provisions

4, Sentencing Court’s Discretion Within Statutory Range: The defendant agrees

and understands that: (A) the Court will use its discretion to fashion a sentence within the statutory

range(s) set forth above; (B) the Court will consider the factors set forth in 18 U.S.C. § 3553(a) in

 
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determining the appropriate sentence within the statutory range(s); (C) the Court will also consult
and take into account the United States Sentencing Guidelines (“Sentencing Guidelines” or
“U.S.S.G.”) in determining the appropriate sentence within the statutory range(s); (D) the
Sentencing Guidelines are not mandatory or binding on the Court, but are advisory in nature; (E)
restitution may be imposed; (F) by pleading “Guilty” to more than one offense (Count), the Court
may order the sentences to be served consecutively one after another; (G) the final determination
concerning the applicable advisory guideline calculation, criminal history category, and advisory
sentencing guideline range will be made by the Court; and (H) by pleading “Guilty,” the Court
may impose the same punishment as if the defendant had plead “Not Guilty,” had stood trial and
been convicted by a jury.

5. Sentencing Court Not Bound by Guidelines or Recommendations: The
defendant acknowledges that this Plea Agreement is governed by Federal Rule of Criminal
Procedure | 1(c)(1)(B) and that the determination of the defendant’s sentence is within the
discretion of the Court. The defendant understands that if the Court decides to impose a sentence
higher or lower than any recommendation of either party, or determines a different advisory
sentencing guideline range applies in this case, or decides to impose a sentence outside of the
advisory sentencing guideline range for any reason, then the defendant will not be permitted to
withdraw this plea of guilty for that reason and will be bound by this plea of guilty.

6. Plea Agreement Based on Information Presently Known: The defendant
recognizes and understands that this Plea Agreement is based upon the information presently
known to the Government. The Government agrees not to bring other federal charges against the
defendant based on information currently known to the United States Attorney for the Southern

District of Indiana.

 
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The Government will inform the Court and the defendant at the time of taking the
defendant’s plea whether the Government has obtained any information after the Plea Agreement
was signed that may warrant bringing other federal charges against the defendant.

7. No Protection From Prosecution for Unknown or Subsequent Offenses: The
defendant acknowledges and agrees that nothing in this agreement shall protect the defendant in
any way from prosecution for any offense not specifically covered by this agreement, or not
known to the United States Attorney for the Southern District of Indiana at this time. The
defendant further acknowledges and agrees that nothing in this agreement shall protect the
defendant in any way from prosecution for any offense committed after the date of this
agreement.

8. Rights Under Rule 11(b), Fed. R. Crim. P.: The defendant understands that the
Government has the right, in a prosecution for perjury or false statement, to use against the
defendant any statement that the defendant gives under oath during the guilty plea colloquy. The
defendant also understands that the defendant has the right: (A) to plead not guilty, or having
already so pleaded, the right to persist in that plea; (B) to a jury trial; (C) to be represented by
counsel--and if necessary have the court appoint counsel--at trial and at every other stage of the
proceedings, including appeal; and (D) to confront and cross-examine adverse witnesses, to be
protected from compelled self-incrimination, to testify and present evidence, and to compel the
attendance of witnesses. The defendant also understands that the Constitution guarantees the
right to be considered for release until trial'; and if found guilty of the charge(s), the right to
appeal the conviction on such charge(s) to a higher court. The defendant understands that if the

Court accepts this plea of guilty, the defendant waives all of these rights.

 

'Title 18, U.S.C. §§ 3141-3156, Release and Detention Pending Judicial Proceedings.

 
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Part 3: Sentence of Imprisonment

9. Sentencing Recommendation Pursuant to Federal Rule of Criminal
Procedure 11(c)(1)(B): The parties have not agreed upon a specific sentence. The Government
has agreed to recommend a sentence within the applicable Sentencing Guidelines range. The
parties reserve the right to present evidence and arguments concerning what they believe to be
the appropriate sentence in this matter.

10. Supervised Release: Both parties reserve the right to present evidence and
arguments concerning whether the Court should impose a term of supervised release to follow
any term of imprisonment in this case, the duration of any term of supervised release, and the
terms and conditions of the release.

11. Conditions of Supervised Release: The parties understand and agree that the
Court will determine which standard and special conditions of supervised release to apply in this
case. The parties reserve the right to present evidence and arguments concerning these
conditions.

Part 4: Monetary Provisions and Forfeiture

12. Mandatory Special Assessment: The defendant will pay a total of $200
on the date of sentencing or as ordered by the Court to the Clerk, United States District Court,
which amount represents the mandatory special assessment fee imposed pursuant to 18 U.S.C. §
3013.

13. - Fine: The parties agree to leave the fine to the discretion of the Court.

14. _ Restitution: The parties agree that no restitution obligation exists in this case.

15. | Obligation to Pay Financial Component of Sentence: If the defendant is

 
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unable to pay any financial component of the defendant’s sentence on the date of sentencing,
then the defendant agrees that the payment of the financial component should be a condition of
supervised release. The defendant has a continuing obligation to pay the financial component of
the sentence. The defendant further agrees that as of the date of filing this Plea Agreement the
defendant will provide all requested financial information, including privacy waivers, consents,
and releases requested by the Government to access records to verify the defendant’s financial
| disclosures, to the Government for use in the collection of any fines, restitution, and money
judgments imposed by the Court and authorizes the Government to obtain credit reports relating
to the defendant for use in the collection of any fines and restitution, and money judgments
imposed by the Court. The defendant also authorizes the Government to inspect and copy all
financial documents and information held by the United States Probation Office. Ifthe
defendant is ever incarcerated in connection with this case, the defendant may participate in the
Bureau of Prisons Inmate Financial Responsibility Program.

16. Forfeiture: The defendant admits that the property listed below constitutes
contraband, was used to facilitate, or constitutes the fruits of the commission of the offenses to
which the defendant is pleading guilty, and, therefore, is subject to forfeiture to the United
States. The defendant abandons all right, title, and interest the defendant may have in the
property listed below so that proper disposition, including destruction, may be made thereof by
federal, state, or local law enforcement agencies involved in the investigation of the defendant’s
criminal activity, without further notice or obligation whatsoever owing to the defendant. The
defendant further agrees not to contest any forfeiture action brought against and consents to the
forfeiture of any of the property listed below, whether any such forfeiture action is

administrative, judicial, civil, or criminal, and agrees not to contest any use or destruction of any

 
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of the property listed below by any federal, state, or local law enforcement agency: a .23 caliber
Glock Model 23 pistol, bearing serial number SMP775, which was seized from the defendant on
March 19, 2020.

The defendant consents to the entry of orders of forfeiture for such property and waives
the requirements of Rules 32.2 and 43(a), Fed. R. Crim. P., regarding notice of the forfeiture in
the charging document, announcement of the forfeiture at sentencing, and incorporation of the
forfeiture in the judgment. The defendant understands that the forfeiture of assets is part of the
sentence that may be imposed in this case and waives any failure by the Court to advise the
defendant of this, pursuant to Rule 11(b)(1)(J), at the time the defendant’s guilty plea is accepted.

The defendant further agrees to waive all constitutional and statutory challenges in any
manner (including direct appeal, habeas corpus, or any other means) to any forfeiture carried out
in accordance with this Plea Agreement on any grounds, including that the forfeiture constitutes
an excessive fine or punishment.

17. __ Relinquishment of Property: The defendant agrees to relinquish all property
seized incident to this investigation of this case to the investigating agency. The defendant
waives the right to notice of the abandonment of the property pursuant to 41 C.F.R. § 128-
48.102-1.

Part 5: Factual Basis for Guilty Plea

18. The parties stipulate and agree that the following facts establish a factual basis for
the defendant’s pleas of guilty to the offenses set forth in Count One of the Indictment docketed
at 1:20-cr-0096-TWP-DLP-08, and that the Government would be able to establish the following
facts beyond a reasonable doubt in the event this cause was to proceed to trial. The following

information is only a summary of the Government’s evidence. This Plea Agreement is not

 
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intended to foreclose the presentation of and the Government reserves the right to present
additional evidence at the time of sentencing.

A. From on or about October 25, 2019 through March 19, 2020, Christopher Tate
directed the activities of a drug trafficking cell operating in Indianapolis, Indiana. Tate’s
organization distributed methamphetamine and heroin in Indianapolis. Eric Poore distributed
both methamphetamine and heroin for Tate.

B. During the course of his drug trafficking activity with Tate, Poore received the
following quantities of controlled substances from Tate and distributed them: one pound of
methamphetamine (January 24, 2020); one pound of methamphetamine (January 25, 2020); one
pound of methamphetamine and one ounce of heroin (February 7, 2020); one pound of
methamphetamine (February 8, 2020); one pound of methamphetamine (February 9, 2020); two
pounds of methamphetamine and one ounce of heroin (February 10, 2020); two pounds of
methamphetamine (February 13, 2020); and four pounds of methamphetamine (February 20,
2020). Poore also attempted to acquire five pounds of methamphetamine from Tate on February
21, 2020, but the methamphetamine was seized by law enforcement before Tate could deliver it
to Poore.

C. Poore regularly possessed a firearm while conducting his drug trafficking activity.
On March 19, 2020, DEA arrested Poore in possession of a .23 caliber Glock Model 23 pistol,
bearing serial number SMP775.

19. The parties stipulate and agree that the following facts establish a factual basis for
the defendant’s pleas of guilty to the offense set forth in Count One of the Indictment docketed at
1:20-cr-0097-JRS-DLP-08, and that the Government would be able to establish the following

facts beyond a reasonable doubt in the event this cause was to proceed to trial. The following

 
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information is only a summary of the Government’s evidence. This Plea Agreement is not
intended to foreclose the presentation of and the Government reserves the right to present
additional evidence at the time of sentencing.

A. From on or about December 18, 2019 through March 19, 2020, Danielle Dowling
directed the activities of a drug trafficking cell operating in Indianapolis, Indiana. Dowling’s
organization distributed methamphetamine and heroin in Indianapolis. Eric Poore distributed
methamphetamine for Dowling.

B. During the course of his drug trafficking activity with Dowling, Poore received
the following quantities of methamphetamine from Dowling and distributed them: two ounces
of methamphetamine (January 13, 2020); three ounces of methamphetamine (January 14, 2020),
four ounces of methamphetamine (January 16, 2020); eight ounces of methamphetamine
(January 26, 2020); and three pounds of methamphetamine (February 23, 2020). Poore also
possessed four pounds of methamphetamine on January 31, 2020 that he received from an
unknown individual.

C, Poore regularly possessed a firearm while conducting his drug trafficking activity.
On March 19, 2020, DEA arrested Poore in possession of a .23 caliber Glock Model 23 pistol,
bearing serial number SMP775.

Part 6: Other Conditions

20. Background Information: The defendant acknowledges and understands that no
limitation shall be placed upon the Court’s consideration of information concerning the
background, character, and conduct of the defendant for the purpose of imposing an appropriate

sentence. The defendant acknowledges and understands that the Government is not prohibited

 
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from providing information concerning background, character, and conduct of the defendant for
the purpose of recommending or advocating an appropriate guideline calculation and sentence.
21. Good Behavior Requirement: The defendant agrees to fully comply with all
conditions of release imposed by the Court during all stages of this case. If the defendant fails to
fully comply with such conditions, then the Government may withdraw from this Agreement.
22. - Compliance with Federal and State Laws: The defendant understands that the
obligations of the Government in this Plea Agreement are expressly contingent upon the

defendant abiding by federal and state laws.

Part 7: Sentencing Guideline Stipulations

23. Guideline Computations: Pursuant to Section 6B1.4 of the Sentencing
Guidelines, the parties agree to the Stipulations below. The parties understand and agree that
these Stipulations are binding on the parties but are only a recommendation to the Court and that
the Court will determine the advisory sentencing guidelines applicable in this case. The parties
agree that no stipulation regarding any factors in Chapter 4, Criminal History Category, of the
Sentencing Guidelines has been made, and that such determination will be made by the Court.
The 2019 version of the Sentencing Guidelines has been used by the parties to make the
stipulations set forth below.

A. Base Offense Level: The parties agree that the combined base offense level for
the offenses charged in Count One of the Indictment docketed at 1:20-cr-0096-TWP-DLP-08 and
Count One of the Indictment docketed at 1:20-cr-0097-JRS-DLP-08 is 34 (based upon 26 pounds

and 1 ounce of a mixture or substance containing a detectable amount of methamphetamine and

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two ounces of a mixture or substance containing a detectable amount of heroin), pursuant to
U.S.S.G. §2D1.1(c)(3).

B. Firearm: Because the defendant possessed a firearm during the commission of
the offense, his offense level increases by two levels pursuant to U.S.S.G. § 2D1.1(b)(1).

| Cc. Acceptance of Responsibility: To date, the defendant has demonstrated a

recognition and affirmative acceptance of personal responsibility for the defendant’s criminal
conduct. Based upon the defendant’s willingness to accept a Plea Agreement and enter a plea of
guilty to the criminal conduct noted in this agreement [and the defendant’s agreement to
cooperate in and not to contest the forfeiture of the property described above], the Government
agrees that the defendant should receive a two (2) level reduction provided the defendant
satisfies the criteria set forth in Guideline § 3E1.1(a) up to and including the time of sentencing.
The defendant timely notified the Government of defendant’s intention to enter a plea of guilty,
thereby permitting the Government and the Court to allocate their resources efficiently. After
the Defendant enters a plea of guilty, the Government intends to file a motion pursuant to
U.S.S.G. § 3E1.1(b) requesting that the Court decrease the offense level by one (1) additional
level. The parties reserve the right to present evidence and arguments concerning the
defendant’s acceptance of responsibility at the time of sentencing.

D Final Offense Level: 33.

Part 8: Waiver of Right to Appeal

24. Direct Appeal: The defendant understands that the defendant has a statutory
right to appeal the conviction and sentence imposed and the manner in which the sentence was
determined. Acknowledging this right, and in exchange for the Government’s agreement to

recommend a sentence within the applicable Sentencing Guidelines range, the defendant agrees

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that in the event the Court accepts this Rule 11(c)(1)(B) plea provided for in this Plea Agreement
and sentences the defendant consistent with this agreement, regardless of the defendant’s
criminal history category or how the sentence is calculated by the Court, then the defendant
expressly waives the defendant’s right to appeal the conviction and sentence imposed in this case
on any ground, including the right to appeal conferred by 18 U.S.C. § 3742. The defendant
further expressly waives any and all challenges to the statutes to which the defendant is pleading
guilty on constitutional grounds, as well as any challenge that the defendant’s admitted conduct
does not fall within the scope of the applicable statutes. This waiver of appeal specifically
includes all provisions of the guilty plea and sentence imposed, including the length and
conditions supervised release and the amount of any fine.

25. Later Legal Challenges: Additionally, the defendant expressly agrees not to
contest, or seek to modify, the defendant’s conviction or sentence or the manner in which either
was determined in any later legal proceeding, including but not limited to, an action brought
under 18 U.S.C. § 3582 or 28 U.S.C. § 2255. As concerns this Section 3582 waiver, should the
United States Sentencing Commission and/or Congress in the future amend the Sentencing
Guidelines to lower the guideline range that pertains to the defendant’s offense(s) and explicitly
make such an amendment retroactive, the Government agrees that it will not argue that this
waiver bars the defendant from filing a motion with the district court pursuant to 18 U.S.C. §
3582(c)(2) based on that retroactive Guidelines amendment. However, if the defendant files
such a motion, the Government may oppose the motion on any other grounds. Furthermore,
should the defendant seek to appeal an adverse ruling of the district court on such a motion, the

Government may claim that this waiver bars such an appeal. As concerns the Section 2255

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waiver, the waiver does not prevent claims, either on direct or collateral review, that the
defendant received ineffective assistance of counsel.

26. No Appeal of Supervised Release Term and Conditions: The parties’
reservation of the rights to present evidence and arguments in this Court concerning the length
and conditions of supervised release is not intended to be inconsistent with the Waiver of Appeal
specified above, which includes a waiver of the right to appeal to the length and conditions of the
period of supervised release.

Part 9: Presentence Investigation Report

27. The defendant requests and consents to the commencement of a presentence
investigation by probation officers of the United States District Court for purposes of preparing a
Presentence Investigation Report at this time and prior to the entry of a formal plea of guilty.

28. The defendant further requests and consents to the review of the defendant’s
Presentence Investigation Report by a Judge, defendant’s counsel, the defendant, and the
Government at any time, including prior to entry of a formal plea of guilty.

Part 10: Immigration Consequences

29. The defendant recognizes that pleading guilty may have consequences with
respect to the defendant’s immigration status if the defendant is not a citizen of the United States.
Under federal law, a broad range of crimes are removable offenses, including the offenses to
which the defendant is pleading guilty. The defendant also recognizes that removal will not
occur until service of any sentence imposed in this case has been completed. Removal and other
immigration consequences are the subject of a separate proceeding, however, and the defendant
understands that no one, including the defendant’s attorney or the Court, can predict to a

certainty the effect of the conviction in this case on the defendant’s immigration status. The

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defendant nevertheless affirms that the defendant wants to plead guilty regardless of any
immigration consequences that this plea may entail, even if the consequence is the defendant’s
removal from the United States.
Part 11; Statement of the Defendant
30. By signing this document, the defendant acknowledges the following:

a. __ have received a copy of the Indictment and have
read and discussed it with my attorney. I believe and feel that I understand every accusation
made against me in this case. I wish the Court to omit and consider as waived by me all readings
of the Indictment/Information in open Court, and all further proceedings including my
arraignment.

b. _ Lhave told my attorney the facts and surrounding circumstances as known
to me concerning the matters mentioned in the Indictment, and believe and feel that my attorney
is fully informed as to all such matters. My attorney has since informed, counseled and advised
me as to the nature and cause of every accusation against me and as to any possible defenses I
might have in this case.

c. I have read the entire Plea Agreement and discussed it with my attorney.

d. understand all the terms of the Plea Agreement and those terms correctly
reflect the results of plea negotiations.

e. Except for the provisions of the Plea Agreement, no officer or agent of any
branch of Government (federal, state or local), nor any other person, has made any promise or
suggestion of any kind to me, or within my knowledge to anyone else, that I would receive a
lighter sentence, or probation, or any other form of leniency, if 1 would plead “Guilty.” I

respectfully request that the Court consider in mitigation of punishment at the time of sentencing

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the fact that by voluntarily pleading “Guilty” I have saved the Government and the Court the
expense and inconvenience of a trial. I understand that before it imposes sentence, the Court will
address me personally and ask me if I wish to make a statement on my behalf and to present any
information in mitigation of punishment.

f. Iam fully satisfied with my attorney’s representation during all phases of
this case. My attorney has done all that anyone could do to counsel and assist me and that I fully
understand the proceedings in this case against me.

g. I make no claim of innocence, and I am freely and voluntarily pleading
guilty in this case.

h. I am pleading guilty as set forth in this Plea Agreement because I am
guilty of the crime(s) to which I am entering my plea.

i, I understand that if convicted, a defendant who is not a United States
Citizen may be removed from the United States, denied citizenship, and denied admission to the
United States in the future.

j. My attorney has informed me, and I understand, that I have the right to
appeal any conviction and sentence that I receive, unless I have waived my right to appeal as part
of this Plea Agreement. If I have not waived my right to appeal, I understand that I must file a
Notice of Appeal within fourteen (14) days of the entry of the judgment in this case; I further
understand that the Clerk of the Court will prepare and file a Notice of Appeal on my behalf if I
ask that to be done. I also understand that the United States has the right to appeal any sentence
that I receive under this Plea Agreement.

k. My attorney has informed me, and I understand, that if I provide or cause

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to be provided materially false information to a judge, magistrate-judge, or probation office, then
Section 3C1.1 of the Sentencing Guidelines allows the Court to impose a two-level increase in
the offense level.
l. If this cause is currently set for trial on the Court’s calendar, I request that
this date be continued to permit the Court to consider this proposed guilty Plea Agreement. I
further understand that any delay resulting from the Court’s consideration of this proposed guilty
Plea Agreement, up to and including the date on which the Court either accepts or rejects my
guilty plea, will be excluded in computing the time within which trial of this cause must
commence, pursuant to 18 U.S.C. § 3161(h)(1)(G).
Part 12: Certificate of Counsel
31. By signing this document, the defendant’s attorney and counselor certifies as
follows:
a. I have read and fully explained to the defendant all the accusations against
the Defendant which are set forth in the Indictment in this case;
b. To the best of my knowledge and belief each statement set forth in the
foregoing petition to enter plea of guilty and Plea Agreement is in all respects accurate and true;
c. The plea of “Guilty” as offered by the defendant in the foregoing petition
to enter plea of guilty and Plea Agreement accords with my understanding of the facts as related
to me by the defendant and is consistent with my advice to the defendant;
d. In my opinion, the defendant’s waiver of all reading of the Indictment
in open Court, and in all further proceedings, including arraignment as provided in Rule 10, Fed.
R. Crim. P., is voluntarily and understandingly made; and I recommend to the Court that the

waiver be accepted by the Court;

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e. In my opinion, the plea of “Guilty” as offered by the defendant in the
foregoing petition to enter plea of guilty and Plea Agreement is voluntarily and understandingly
made and I recommend to the Court that the plea of “Guilty” be now accepted and entered on
behalf of the defendant as requested in the foregoing petition to enter plea of guilty and Plea

Agreement.

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Part 13: Final Provision

32. Complete Agreement: The defendant acknowledges that no threats, promises, or
representations have been made, nor agreements reached, other than those set forth in this
document, to induce the defendant to plead guilty. This document is the complete and only Plea
Agreement between the defendant and the United States Attomey for the Southern District of
Indiana and is binding only on the parties to the Plea Agreement, supersedes all prior
understandings, if any, whether written or oral, and cannot be modified except in writing, signed
by all parties and filed with the Court, or on the record in open court.

Respectfully submitted,
JOSH J. MINKLER

  

 

United States Attorney
Bradlgy A. Blackington
Assistant United States Attorney
Lh, John Childress
First Assistant United States Attorney
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DATE -

Lifeo20 Yh. ZL
DATE
a a
Eric Poore

Defendant

DA’ Mério Garcia
Counsel for Defendant

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